Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 1 of 20




                 EXHIBIT 28
    Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 2 of 20




                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


                                       )
STUDENTS FOR FAIR ADMISSIONS,          )
INC.,                                  )      Civil Action No. 1:14-cv-14176
                                       )
                      Plaintiff,       )
                                       )
     v.                                )
                                       )
PRESIDENT AND FELLOWS OF               )
HARVARD COLLEGE (HARVARD               )
CORPORATION),                          )
                                       )
                      Defendant.




              REBUTTAL REPORT OF RUTH SIMMONS, Ph.D.

                                   March 15, 2018
       Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 3 of 20




                                               TABLE OF CONTENTS

I.     INTRODUCTION ....................................................................................................................1

II.    KAHLENBERG’S SUPPORT FOR ELIMINATING ADMISSIONS POLICIES
       REGARDING CHILDREN OF ALUMNI, DONORS, AND FACULTY AND STAFF
       IGNORES IMPORTANT UNIVERSITY GOALS AND INTERESTS .............................................3

III.   KAHLENBERG’S SUGGESTION TO ELIMINATE EARLY ACTION OVERLOOKS THE
       NEGATIVE CONSEQUENCES FOR COMPETITIVE UNIVERSITIES LIKE HARVARD
       AND THE OUTREACH EFFORTS MADE TO ATTRACT A BROADER POOL OF
       EARLY APPLICANTS ..........................................................................................................10

IV.    CONCLUSION .....................................................................................................................13




                                                                  i
      Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 4 of 20




I. INTRODUCTION

       1. I have been retained by President and Fellows of Harvard College (“Harvard”) to

provide an expert opinion in this matter. In my opening expert report, I stated my opinion that

attainment of a diverse (including a racially diverse) student body contributes various significant

benefits to students, the campus environment, and society. I also set forth my opinion, based on

my decades of experience as a professor, administrator and university president of institutions of

higher education across the country, that certain admissions practices used by Harvard and many

other colleges and universities criticized for allegedly hindering efforts to attain a diverse student

body serve important and legitimate goals, and that eliminating such practices would entail

significant costs for Harvard. My opinions were also based on my review of the materials cited in

my report, including Harvard’s internal reports analyzing the benefits of diversity and various

descriptions of Harvard’s admissions process.

       2. I have reviewed the rebuttal expert report submitted by Richard Kahlenberg, Students

for Fair Admissions, Inc.’s (“SFFA”) proffered expert witness, which, among other things,

contends that my conclusions regarding the use of admissions policies regarding children of

alumni, faculty and staff, and donors are unsubstantiated, and that the elimination of early action

would not have substantial costs.

       3. As I explain below, Mr. Kahlenberg’s rebuttal report does not change the opinions and

conclusions reflected in my expert report.

       4. My opinions and conclusions are based on my decades of experience as a professor and

leader at several institutions of higher education, and my review of the materials cited herein

(Exhibit A) and in my initial report. In my leadership roles at Princeton University, Smith College,

Brown University, Spelman College, and Prairie View A&M University, I had regular contacts

with the deans of admissions and others with direct oversight of admissions regarding the


                                                  1
        Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 5 of 20




admissions process. I have formed an understanding of Harvard College’s current admissions

approach, which considers each applicant as an individual, through review of Harvard’s statements

regarding its admissions process,1 and interactions with other leaders of Ivy League institutions

during my presidency at Brown University.

         5. In my leadership roles at institutions, including Brown University and Smith College, I

had a role in those institutions’ admissions strategies and processes. I was involved in discussions

with senior leaders, admissions staff, and the Boards of Trustees regarding admissions policies and

practices, and participated in the formulation of policies intended to admit strong classes of

students. For example, at Smith College, the Board of Trustees was interested in improving the

admissions process and attracting stronger classes, and I devised strategies to accomplish this

objective, including hiring admissions employees to effect those changes. As President of Brown,

I interacted with the admissions office, both to keep abreast of admissions updates and to provide

my view of the university’s strategic goals. Additionally, like presidents of most universities, I

have been involved in recruiting prospective students by talking to high school teachers,

counselors, alumni, and prospective students across the country.

         6. In my experience as both a leader of different universities and a member of several

university Boards of Trustees, the admissions season and policy developments are subjects on

which university presidents report to their Boards of Trustees.

         7. At Brown University and Princeton University, remaining apprised of the admissions

process was a core function of leadership to ensure that we admitted and educated a cohort of

students who demonstrate excellence and are diverse across many dimensions, including academic

interest, geography, whether students are the first in their family to attend college, race and



1
    See Simmons Report, Exhibit B.


                                                 2
      Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 6 of 20




ethnicity, socioeconomic background, extracurricular interests and talents, and type of high school,

among other types of diversity. My understanding is that Harvard’s admissions process, like those

at Brown, Princeton, and many other competitive universities, takes a holistic review of individual

applicants and considers many, many factors in evaluating students for admission.

       8. Based on my experience as President of Smith College, Brown University, and Prairie

View A&M University and as Provost of Spelman College, I found that while educational missions

inform the nature of the admissions process and result in varying types of admissions pools and

admissions cohorts, the importance of admissions from an institutional and leadership perspective

never varies.

       9. Accordingly, for over thirty years in higher education, admissions has been a central

focus of my professional life, and that focus continues today.

II. KAHLENBERG’S SUPPORT FOR ELIMINATING ADMISSIONS POLICIES REGARDING
CHILDREN OF ALUMNI, DONORS, AND FACULTY AND STAFF IGNORES IMPORTANT
UNIVERSITY GOALS AND INTERESTS

       10. Mr. Kahlenberg’s argument for eliminating consideration of an applicant’s

relationship to an alumnus in the admissions process ignores the various institutional goals that are

served through such consideration. As I explained, based on my own extensive experience at

colleges and universities that have considered applicants’ legacy status during the admissions

process, including Smith College and Brown University, and my experience speaking with

administrators and leaders of other universities, it is legitimate for universities like Harvard to

consider, in their admissions processes, that an applicant is the child of an alumnus—provided, of

course, that the applicant is otherwise qualified to attend the school. Considering this factor

advances several important goals and interests of universities. Many excellent institutions,

including Harvard, have found that there are many benefits that alumni and their children bring to

the university community, such as passing on cherished institutional values and traditions from

                                                 3
      Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 7 of 20




generation to generation, instilling a sense of school spirit and helping to form broader and stronger

alumni networks.2 The enthusiasm of alumni networks aids recruitment efforts and strengthens

fundraising results. It is no accident that institutions with large alumni participation enjoy

improved standing over time, both academically and financially.3 My own experience at Brown

University, Princeton University, and Smith College bears out those conclusions.               Those

institutions, like other selective institutions with long histories, have survived over time because

they have maintained their educational excellence while working tirelessly to garner the support

needed to compete with other universities, raise their standing among their peers, and ensure that

they will still be thriving over future decades and centuries. In my experience, the benefits that

arise from cultivating strong relationships with alumni through the judicious consideration of

applicants’ family connections to the university not only enhance the quality of education and



2
  E.g., Monyak, “Legacy Status Tips Admission Scales,” The Hoya (Mar. 20, 2015), available at
http://www.thehoya.com/legacy-status-tips-admission-scales/; Temple, “Lunch with Don
Bishop,”       Notre      Dame        Magazine       (Jan.     20,       2015),     available      at
https://admissions.nd.edu/connect/news/lunch-with-don-bishop/; Kapur, “Legacy Still Factor in
Admissions,” The Stanford Daily (Apr. 4, 2008), available at https://stanforddailyarchive.com/cgi-
bin/stanford?a=d&d=stanford20080404-01.2.7&srpos=1&e=-------en-20--1--txt-txIN-
kapur+legacy------; Heinz, “Perspective: Better Fundraising through Family Freshmen? Legacy
Admits Repay Loyalties,” The Daily Pennsylvanian (Feb. 6, 2007), available at
http://www.thedp.com/article/2007/02/perspective_better_fundraising_through_family_freshmen
_legacy_admits_repay_loyalties; “Why Yale Favors Its Own,” Yale Alumni Magazine (Nov./Dec.
2004), available at http://archives.yalealumnimagazine.com/issues/2004_11/q_a.html; Bourne,
“Children of Alumni Enjoy Admissions Preference,” The Middlebury Campus (Feb. 25, 2003),
available at https://middleburycampus.com/2689/news/children-of-alumni-enjoy-admissions-
preference/.
3
  For example, U.S. News & World Report’s annual college rankings include factors that directly
or indirectly are affected by alumni participation, such as the institution’s alumni giving rate and
the institution’s academic reputation, which is based on a peer assessment survey and high school
counselors’ ratings. In my experience, an institution’s academic reputation can improve over time
based on the efforts of enthusiastic alumni who act as informal ambassadors in their communities
for their alma mater or who become involved in the governance and direction of their schools
through service on boards and committees. See “Best Colleges Ranking Criteria and Weight,”
U.S.       News       &     World       Report      (Sept.      11,      2017),     available      at
https://www.usnews.com/education/best-colleges/articles/ranking-criteria-and-weights.


                                                  4
      Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 8 of 20




social interactions for all students, but also help to ensure that the future of the institution will be

secured and strengthened over time.

       11. As I explained in my expert report, as long as the applicants admitted under policies

considering children of alumni are themselves qualified to attend the college or university, and can

be reasonably expected to make substantial contributions to the university community in their own

right, it is not detrimental for universities to consider whether applicants are children of alumni.

Based on my experience in the field of higher education, fostering loyalty and affection for the

university among students, alumni, and future generations of prospective students is an important

goal for many, if not all, colleges and universities, and considering whether applicants are children

of alumni during the admissions process is one way many universities go about achieving this goal.

During my tenure at Princeton University, Smith College, and Brown University, when we

evaluated a well qualified legacy applicant for admission, we considered not only whether that

applicant was individually capable of contributing significantly to the university community (as

we do with all applicants), but also the degree to which that applicant’s family had positive

associations with the university. This dual consideration was aimed at ensuring both that any such

student admitted was capable of succeeding and that the university’s institutional goals were

furthered.

       12. Moreover, universities are capable of objectively evaluating the qualifications and

expected contributions of applicants regardless of whether applicants have an affiliation with a

school. In my experience, and based on my knowledge of competitive universities’ treatment of

legacy applicants, the majority of legacy applicants are rejected and not accepted, based on the

strength of their applications. As selective universities, including Brown and Princeton, have

recognized, there is generally little incentive to admit an applicant with a familial relationship to




                                                   5
      Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 9 of 20




the school who is otherwise not capable of succeeding there. Doing so affects the student’s

chances for a successful college experience.

       13. In my experience, the existence of consideration for qualified legacy applicants does

not prevent universities from considering and admitting other qualified applicants, such as students

from low-income or minority backgrounds. Among a pool of applicants who are diverse in many

ways, legacies are just one category of students that can contribute significantly to the learning

environment; although no university would want a class exclusively of legacies, it is quite

reasonable for those applicants to be considered within prudent limits.

       14. Mr. Kahlenberg’s reliance on a single study about consideration for children of alumni

in admissions and alumni giving behavior4 does not alter my conclusions based upon years of

higher education experience. The study that Mr. Kahlenberg cites focuses solely on whether the

existence of legacy admissions policies affects the level of alumni donations. It finds that “schools

with legacy preferences, on average, have 35.7 percent higher alumni giving than non-legacy

preference schools before controlling for [family] wealth.”5 The study also acknowledges that its

models suggest that abolishing legacy preferences would have a “deleterious impact” on the

finances of universities that currently consider legacy status in admissions.”6 In my opinion, such

an outcome would be harmful for many private universities, whose financial resources affect their

ability to sustain the excellence of their offerings and provide resources for low income students

of all races to afford the costs of their education. In addition, studies, including those reviewed in

the study that Mr. Kahlenberg cites, have found that alumni with familial ties to an institution are




4
  Kahlenberg Report at 32-33; Kahlenberg Rebuttal Report at 12.
5
  Coffman, O’Neil, & Starr, “An Empirical Analysis of Legacy Preferences on Alumni Giving at
Top Universities,” at 114.
6
  Id. at 115.

                                                  6
     Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 10 of 20




more likely to donate than other alumni.7 While these studies have tended to analyze the

experience of an individual university or college, their findings comport with my own observations

of alumni giving based on my experiences at Smith College and Brown University.

       15. Moreover, neither Mr. Kahlenberg nor the study cited in his report addresses the

relationship between universities having legacy admissions policies and the level of alumni

engagement more broadly. As I explained in my initial report and above, in my experience,

universities value students who are the children of alumni for much more than whether they or

their families have an ability to donate money.8

       16. Mr. Kahlenberg also argues that there are excellent institutions that admit strong

students and provide excellent educations without using legacy preferences, naming four publicly-

funded universities.9 Although that is undoubtedly true, the decision by some universities to not

consider whether applicants are children of alumni does not mean that it is the appropriate decision

for all universities. Based on my experience at both private and public universities, I can say that

private universities are much more dependent on an active network of supporters, mostly alumni,

to sustain their ability to provide excellent educations and services to their students, compared to

public universities which receive government funding.

       17. Nor is it illegitimate to give some consideration in admissions to the likelihood that an

applicant or his family will lend financial support to the university. Based on my experience at


7
  See Coffman, O’Neil, & Starr at 103-106; Holmes, “Prestige, Charitable Deductions and Other
Determinants of Alumni Giving: Evidence from a Highly Selective Liberal Arts College,” 28
Economics of Education Review, 18-20 (2009) (finding that Middlebury College alumni with
close alumni relatives are more likely to donate than those without family connections);
Edmonson, “Explaining the Alumni Relationship and Giving Tendencies of Multigeneration
Alumni Legacy Families at Marquette University,” College of Professional Studies Professional
Projects (2011) (finding that legacy alumni give more than non-legacy alumni).
8
  Simmons Report at 20-21.
9
  Kahlenberg Rebuttal Report at 12. Mr. Kahlenberg names two publicly-funded universities in
England and two public universities in California.

                                                   7
        Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 11 of 20




institutions of varying sizes and missions, I have observed that all colleges and universities have

financial and budgetary considerations that affect the breadth and scope of educational and on-

campus services provided to all students, from the availability of research funding and the budget

for hiring faculty and administrators, to the construction and renovation budget for classrooms and

dormitories, to the amount of financial aid that can be offered to other students. Tuition alone

cannot cover an institution’s entire annual operating budget. In order to thrive, universities,

particularly private ones, depend on other sources of revenue, especially donations. So long as

applicants are qualified academically and otherwise to attend the university, and will bring to the

campus the same willingness to engage broadly that universities expect of all students, there are

pragmatic reasons for universities to give consideration to the likelihood that an applicant and his

family will support the institution. Beyond that, in my own experience at Princeton, Brown, and

Smith, and based on discussions I have had with other university administrators and leaders, I have

found that influential individuals assist universities in a variety of other ways—by offering advice,

serving on boards, expanding the network of donors, and so on. Moreover, during my presidencies

of Brown University and Smith College, I found that there were very few donor relationships that

were important enough to justify consideration of that relationship in the application process.

Based on that experience and my knowledge of competitive peer institutions like Harvard, I believe

the number of applicants who could benefit from an admissions consideration based on the

financial support of non-alumni family members for the institution is very small.

         18. Mr. Kahlenberg contends that the absence of an empirical study supporting admissions

consideration of children of faculty or staff must necessarily mean such consideration and the

interests it serves are invalid.10 However, he does not cite any studies disproving the existence of



10
     Kahlenberg Rebuttal Report at 13.


                                                 8
      Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 12 of 20




the various benefits that arise from such consideration. Based on my own experience at Smith

College and Brown University, my interactions with professors over my career, and my

interactions with administrators and leaders of other universities, I can say that for many faculty

and staff who have children or plan to have children, the fact that their children may have an

opportunity to attend an institution can be a deciding factor in whether they choose to work or

remain at a particular university, even a highly regarded university like Harvard. For example,

during my time at Brown, I was involved in situations where I tried to recruit a new professor or

faculty member to the school. Inevitably, if that individual had a child near college age, the

individual would ask whether their child would be able to go to Brown. If we did not see a

possibility of admitting their child based on a preview of their qualifications, the recruit often chose

to go to a different institution.   Beyond faculty and staff recruitment and retention, faculty and

staff devote their professional and personal time to contributing to the campus community, and

often raise their children among the community, instilling in them the values that universities seek

among prospective students. Giving consideration to these children, provided that they are as

qualified and broadly engaged as other strong applicants, strengthens the relationship between a

university and its faculty and staff by bolstering morale and retention, and strengthens the student

community more broadly—children of faculty and staff often consider the university a second

home, their parents are integral parts of the institution, and together their continued affection for

the university helps to shape all students’ educational and social experiences. My experience at

Brown University also made clear that selective universities have no incentive to admit the child

of a faculty or staff member if that child was not, on his or her own merits, deserving of admission.

Moreover, as I explained in my initial report, elimination of such an admissions consideration

would entail greater costs than benefits, given that the number of children of faculty or staff

admitted in an admissions cycle is virtually negligible compared to the larger pool of applicants.


                                                   9
        Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 13 of 20




III. KAHLENBERG’S SUGGESTION TO ELIMINATE EARLY ACTION OVERLOOKS THE NEGATIVE
CONSEQUENCES FOR COMPETITIVE UNIVERSITIES LIKE HARVARD AND THE OUTREACH
EFFORTS MADE TO ATTRACT A BROADER POOL OF EARLY APPLICANTS

         19. Mr. Kahlenberg dismisses, without providing any evidence to the contrary, my opinion

that universities risk losing well-qualified students to competitor institutions by eliminating early

admissions.11 I continue to believe, based on my experience, that eliminating early action

admissions would have substantial costs for competitive and selective universities like Harvard.

         20. During my presidency at Brown University, we assessed whether Brown should

eliminate early admissions, cognizant that other competitive universities had decided to do so or

were considering such a move. After hearing from enrolled students, applicants, and their families,

we ultimately concluded that the potential costs of losing out on the ability to compete for some

of this country’s most talented students outweighed any potential benefits of elimination. Early

action can serve to strengthen the recruitment of the most talented students who are the most

sought-after candidates. When strong applicants are able to demonstrate their interest to particular

selective universities by applying early, and can in turn receive early commitments from those

universities, they have less incentive to apply to competitor universities and are more likely to

matriculate to the school in which they showed early interest. For example, I recall that during

Brown’s assessment of whether to eliminate early admissions, we heard from many students who

desired to be able to show their interest in Brown as their first-choice school through applying

early. The lack of an early action admissions cycle puts universities at a disadvantage against their

peer competitors who do have early admissions in competing for the same, well qualified

applicants, as competitive universities have recognized in deciding to reinstate early admissions




11
     Kahlenberg Rebuttal Report at 20.


                                                 10
     Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 14 of 20




programs.12   Moreover, universities like Harvard that seek to increase enrollment of talented

students from lower income and/or minority backgrounds may be at a competitive disadvantage

without an early admissions program, as these students may decide to apply early elsewhere and

no longer be available during the regular admissions cycle.13 These experiences of universities

that have eliminated and then reinstated early admissions programs are consistent with the

considerations Brown University weighed in deliberating whether to eliminate, and ultimately

deciding to keep, early admissions.

       21. Mr. Kahlenberg argues that I have “ignore[d] the principle [sic] issue [] that many low-

income and minority students are at a disadvantage because they lack counselors telling them to

apply early.”14 I do not dispute that some students need more support in navigating the college

application process, and some have criticized early admissions programs for the reason Mr.

Kahlenberg observes. While it is no doubt true that some students from low income backgrounds,

including some very capable minority students, do not have the benefit of strong college advising

resources, many with their sights on universities like Harvard have been focused on applying for

some time and, consistent with the experience of the schools that reinstated early options after


12
   See Lewin, “Harvard and Princeton Restore Early Admission,” N.Y. Times (Feb. 24, 2011),
available at http://www.nytimes.com/2011/02/25/education/25admissions.html; “Princeton to
reinstate        early         admission          program”        (Feb.       24,         2011),
https://www.princeton.edu/news/2011/02/24/princeton-reinstate-early-admission-program;
Steinberg, “University of Virginia Explains Its Return to Early-Admissions Arena,” N.Y. Times
(Nov. 23, 2010), available at https://thechoice.blogs.nytimes.com/2010/11/23/virginia/.
13
   E.g., Lewin (According to Harvard’s Dean of Faculty of Arts and Sciences, “‘We looked
carefully at trends in Harvard admissions these past years and saw that many highly talented
students, including some of the best-prepared low-income and underrepresented minority students,
were choosing programs with an early-action option, and therefore were missing out on the
opportunity to consider Harvard.’”); “Princeton to reinstate…” (According to Princeton’s
President, “‘By reinstating an early program, we hope we can … provide opportunities for early
application for students who know that Princeton is their first choice, while at the same time
sustaining and even enhancing the progress we have made in recent years in diversifying our
applicant pool….’”).
14
   Kahlenberg Rebuttal Report at 20.

                                               11
     Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 15 of 20




suspending them, want early application options.15 Indeed, that was my own experience at Brown

University, based on feedback I heard from students, applicants, and their families.

       22. Moreover, as my report noted, universities can ameliorate this issue by publicizing their

admissions policies, including their early admissions policies, to schools and students, so that

applicants understand that they have the option of applying early.16 This is particularly so in

current circumstances in which the internet and websites are a key source of admissions

information.17

       23. My understanding is that Harvard engages in extensive outreach to low-income and

minority students to encourage them to apply to Harvard through programs such as the

Underrepresented Minority Recruitment Program,18 the Harvard First Generation Program,19 the

Harvard Financial Aid Initiative,20 and the Harvard College Connection.21 Other universities with

early admissions programs have also increased their efforts to educate lower-income and minority

students about applying early, such as connecting directly with high school students through social

media and visits by current enrolled students, and have credited these enhanced efforts with


15
   Supra note 12.
16
   See Simmons Report at 23.
17
   E.g., Richter, “The Role of the Internet in Students’ College Selection Process and Admissions
Recruitment Strategies: A Review of the Literature,” 4 Journal of Student Affairs at N.Y.U., 2008,
available                                                                                         at
https://steinhardt.nyu.edu/scmsAdmin/uploads/001/352/JoSA2008_RichterOnline.pdf.
18
   Available at https://college.harvard.edu/admissions/hear-our-students/multicultural-diversity.
19
   Available at https://college.harvard.edu/admissions/hear-our-students/first-generation-students.
20
   Available at https://college.harvard.edu/admissions/hear-our-students/economic-diversity.
21
      Available at https://college.harvard.edu/admissions/hear-our-students/harvard-college-
connection. The Harvard admissions office has recently credited the Harvard College Connection
with helping to increase the number of students who applied for early admission. See “977
Admitted to Class of 2019 under Early Action,” The Harvard Gazette (Dec. 12, 2014), available
at     https://news.harvard.edu/gazette/story/2014/12/977-admitted-to-class-of-2019-under-early-
action/ (“Harvard College Connection (HCC), a new initiative announced in October 2013,
appears to have played a major role in this year’s early results. Bolstered by Harvard’s enhanced
website and video capabilities along with a new social media program and traditional outreach,
HCC was cited by many students in their applications.”).

                                                12
      Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 16 of 20




bringing greater socioeconomic and racial diversity to the early admissions applicant pool.22 This

is consistent with my own experience at Brown University, and these outreach efforts, in my

opinion, should help increase the number of lower-income and minority applicants who choose to

apply early.

IV. CONCLUSION

       24. For the reasons stated in my initial report and above, Mr. Kahlenberg’s rebuttal report

does not change my opinions and conclusions regarding the necessity of keeping certain

admissions policies in order to effectuate institutional goals.




22
   E.g., Trustman, “Penn received a record-breaking number of Early Decision applicants for the
Class of 2022,” The Daily Pennsylvanian (Nov. 15, 2017), available at
http://www.thedp.com/article/2017/11/penn-ed-applicant-pool-record-high;     Victor,    “Early
applications show increased diversity,” Yale Daily News (Nov. 19, 2015), available at
https://yaledailynews.com/blog/2015/11/19/129216/; Wang, “U. accepts 15.4 percent of early
action applicants,” The Daily Princetonian (Dec. 15, 2016), available at
http://www.dailyprincetonian.com/article/2016/12/u-offers-admission-to-15-4-percent.

                                                 13
Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 17 of 20
Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 18 of 20




                  EXHIBIT A
     Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 19 of 20


                           Rebuttal Report of Dr. Ruth Simmons
                               List of Materials Considered

1. Expert Report of Richard D. Kahlenberg, Students for Fair Admissions, Inc. v. President and
   Fellows of Harvard College (Harvard Corporation), October 16, 2017.

2. Rebuttal Expert Report of Richard D. Kahlenberg, Students for Fair Admissions, Inc. v.
   President and Fellows of Harvard College (Harvard Corporation), January 30, 2018.

3. Multicultural Diversity. Harvard College Admissions & Financial Aid. Retrieved from:
   https://college.harvard.edu/admissions/hear-our-students/multicultural-diversity.

4. First Generation Students. Harvard College Admissions & Financial Aid. Retrieved from:
   https://college.harvard.edu/admissions/hear-our-students/first-generation-students.

5. Economic Diversity. Harvard College Admissions & Financial Aid. Retrieved from:
   https://college.harvard.edu/admissions/hear-our-students/economic-diversity.

6. Harvard College Connection. Harvard College Admissions & Financial Aid. Retrieved from:
   https://college.harvard.edu/admissions/hear-our-students/harvard-college-connection.

7. Monyak, Suzanne. (March 20, 2015). Legacy Status Tips Admission Scales. The Hoya.
   Retrieved from: http://www.thehoya.com/legacy-status-tips-admission-scales/.

8. Temple, Kerry. (January 20, 2015). Lunch with Don Bishop. Notre Dame Magazine;
   University of Notre Dame Undergraduate Admissions. Retrieved from:
   https://admissions.nd.edu/connect/news/lunch-with-don-bishop/.

9. Kapur, Salone. (April 4, 2008). Legacy Still Factor in Admissions. The Stanford Daily.

10. Heintz, Francesca. (February 6, 2007). Perspective: Better Fundraising through Family
    Freshmen? Legacy Admits Repay Loyalties. The Daily Pennsylvanian. Retrieved from:
    http://www.thedp.com:8080/article/2007/02/perspective_better_fundraising_through_family_
    freshmen_legacy_admits_repay_loyalties.

11. Lassila, Kathrin. (November/December 2004). Why Yale Favors Its Own. Yale Alumni
    Magazine. Retrieved from:
    http://archives.yalealumnimagazine.com/issues/2004_11/q_a.html.

12. Bourne, Claire. (February 25, 2003). Children of Alumni Enjoy Admissions Preference. The
    Middlebury Campus. Retrieved from: https://middleburycampus.com/2689/news/children-of-
    alumni-enjoy-admissions-preference/.

13. Morse, Robert & Brooks, Eric. (September 11, 2017). Best Colleges Ranking Criteria and
    Weight. U.S. News & World Report. Retrieved from:
    https://www.usnews.com/education/best-colleges/articles/ranking-criteria-and-weights.

14. Lewin, Tamar. (February 24, 2011). Harvard and Princeton Restore Early Admission. The
    New York Times. Retrieved from:
    http://www.nytimes.com/2011/02/25/education/25admissions.html.
     Case 1:14-cv-14176-ADB Document 419-28 Filed 06/15/18 Page 20 of 20




15. Staff. (February 24, 2011). Princeton to reinstate early admission program. Princeton News.
    Retrieved from: https://www.princeton.edu/news/2011/02/24/princeton-reinstate-early-
    admission-program.

16. Steinberg, Jacques. (November 23, 2010). University of Virginia Explains Its Return to
    Early-Admissions Arena. The New York Times: The Choice Blog. Retrieved from:
    https://thechoice.blogs.nytimes.com/2010/11/23/virginia/.

17. 977 Admitted to Class of 2019 under Early Action. (December 12, 2014). The Harvard
    Gazette. Retrieved from: https://news.harvard.edu/gazette/story/2014/12/977-admitted-to-
    class-of-2019-under-early-action/.

18. Trustman, Harry. (November 15, 2017). Penn received a record-breaking number of Early
    Decision applicants for the Class of 2022. The Daily Pennsylvanian. Retrieved from:
    http://www.thedp.com/article/2018/02/applicant-total-upenn-admissions-penn-class-2022-
    philadelphia.

19. Victor, Jon. (November 19, 2015). Early applications show increased diversity. Yale Daily
    News. Retrieved from: https://yaledailynews.com/blog/2015/11/19/129216/.

20. Wang, Katherine. (December 15, 2016). U. accepts 15.4 percent of early action applicants.
    The Daily Princetonian. Retrieved from:
    http://www.dailyprincetonian.com/article/2016/12/u-offers-admission-to-770-applicants.

21. Coffman, Chad, O’Neil, Tara & Starr, Brian. An Empirical Analysis of Legacy Preferences
    on Alumni Giving at Top Universities. Affirmative Action for the Rich.

22. Holmes, Jessica. (February 2009). Prestige, Charitable Deductions and Other Determinants
    of Alumni Giving: Evidence from a Highly Selective Liberal Arts College. Economics of
    Education Review. Volume 28, No. 1, pp. 18-28.

23. Edmonson, Lauren. (Spring 2011). Explaining the Alumni Relationship and Giving
    Tendencies of Multigeneration Alumni Legacy Families at Marquette University. College of
    Professional Studies Professional Projects.

24. Richter, Diana. (2008). The Role of the Internet in Students’ College Selection Process and
    Admissions Recruitment Strategies: A Review of the Literature. Journal of Student Affairs at
    New York University. Volume IV.
